                          Case 23-12854-abl                Doc 1       Entered 07/13/23 21:26:59                   Page 1 of 13


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                RS Land LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1775 Village Center Circle Suite 110
                                  Las Vegas, NV 89134
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clark                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                          Case 23-12854-abl                  Doc 1        Entered 07/13/23 21:26:59                    Page 2 of 13
Debtor    RS Land LLC                                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                            Case 23-12854-abl                     Doc 1       Entered 07/13/23 21:26:59                     Page 3 of 13
Debtor    RS Land LLC                                                                                   Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Attachment                                               Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50     million             $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
                       Case 23-12854-abl             Doc 1   Entered 07/13/23 21:26:59                  Page 4 of 13
Debtor   RS Land LLC                                                                Case number (if known)
         Name

                            $50,001 - $100,000                       $10,000,001 - $50   million            $1,000,000,001 - $10 billion
                            $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                            $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
                         Case 23-12854-abl                 Doc 1        Entered 07/13/23 21:26:59                      Page 5 of 13
Debtor    RS Land LLC                                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 13, 2023
                                                  MM / DD / YYYY


                             X   /s/ Fredrick Waid                                                        Fredrick Waid
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Brett A. Axelrod                                                      Date July 13, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Brett A. Axelrod 5859
                                 Printed name

                                 Fox Rothschild LLP
                                 Firm name

                                 1980 Festival Plaza Drive, Suite 700
                                 Las Vegas, NV 89135
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (702) 262-6899                Email address      baxelrod@foxrothschild.com

                                 5859 NV
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                          Case 23-12854-abl              Doc 1       Entered 07/13/23 21:26:59                  Page 6 of 13
Debtor     RS Land LLC                                                                      Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                   Chapter      11
                                                                                                                      Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Chase Collegiate Land, LLC                                              Relationship to you               Affiliate
District   Nevada                                     When     7/13/23             Case number, if known
Debtor     Henderson International Land, LLC                                       Relationship to you               Affiliate
District   Nevada                                     When     7/13/23             Case number, if known
Debtor     Lake Mary Land, LLC                                                     Relationship to you               Affiliate
District   Nevada                                     When     7/13/23             Case number, if known
Debtor     Squaw Valley Land LLC                                                   Relationship to you               Affiliate
District   Nevada                                     When                         Case number, if known
Debtor     York United Inc.                                                        Relationship to you               Parent
District   Nevada                                     When     7/13/23             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 6
     Case 23-12854-abl        Doc 1     Entered 07/13/23 21:26:59        Page 7 of 13



                           UNANIMOUS WRITTEN CONSENT
                                       OF THE
                                   SOLE MANAGER
                                         OF
                                    RS LAND, LLC
                           IN LIEU OF A SPECIAL MEETING

        The undersigned, as sole Manager of RS LAND, LLC, an Arizona limited liability
company (the “Company”), does hereby confirm that the Manager(s) have signed this consent
and the resolutions set forth below shall be deemed to have been adopted to the same extent
and to have the same force and effect as though adopted at a special meeting of the Manager(s)
duly called and held for the purpose of acting upon proposals to adopt such resolutions in
accordance with the laws of the State of Arizona:

        RESOLVED, that in the reasonable business judgment of the Manager(s) and the
Company, a petition be filed by the Company seeking relief under the provisions of chapter 11
of Title 11 of the United States Code (the “Code”) before the United States Bankruptcy Court,
District of Nevada (the “Court”).

        IT IS FURTHER RESOLVED that the Company is directed to cause a petition seeking
relief under the provisions of chapter 11 of Title 11 of the Code to be filed.

         IT IS FURTHER RESOLVED, that Fredrick Waid, sole Manager of York United
Management Company, LLC, being the sole Manager of the Company, is hereby authorized,
empowered and directed, on behalf of and in the name of the Company, to execute and verify
or certify a petition under chapter 11 of the Code and to cause the same to be filed in the United
States Bankruptcy Court for the District of Nevada, the location of the Company’s principal
assets.

       IT IS FURTHER RESOLVED that the law firm of Fox Rothschild, LLP, 1980 Festival
Plaza Drive, Suite 700, Las Vegas, Nevada 89135, be and hereby is, employed as attorneys for
the Company in connection with the Company’s bankruptcy case under chapter 11.

       IN WITNESS WHEREOF, the undersigned has signed this Written Consent as of this
13th day of July 2023.


                                     RS LAND, LLC


                                     _________________________________________
                                     By: York United Management Company, LLC
                                     Its: Manager

                                       By: Fredrick Waid
                                       Its: Manger




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                       Case 23-12854-abl                Doc 1         Entered 07/13/23 21:26:59                  Page 8 of 13




Fill in this information to identify the case:

Debtor name         RS Land LLC

United States Bankruptcy Court for the:     DISTRICT OF NEVADA

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
       X
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       July 13, 2023                   X /s/ Fredrick Waid
                                                           Signature of individual signing on behalf of debtor

                                                            Fredrick Waid
                                                            Printed name

                                                            Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                         Case 23-12854-abl                Doc 1         Entered 07/13/23 21:26:59                          Page 9 of 13


Fill in this information to identify the case:
Debtor name RS Land LLC
United States Bankruptcy Court for the: DISTRICT OF NEVADA                                                                              Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Pima Center Holdco                                  Litigation                Disputed                                                                      $1,400,000.00
LLC
c/o Benjamine
Reeves, Esq.
Snell & Wilmer LLP
One East
Washington Street,
Suite 2700
Phoenix, AZ
85004-2556
Rayford                                             Escrow Dispute            Contingent                                                                  $12,000,000.00
International, Inc.                                                           Disputed
Changqing Liu
Chief Executive
Officer and Director
7359 Las Palmas
Way
Dublin, CA 94568




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                   Case 23-12854-abl             Doc 1       Entered 07/13/23 21:26:59               Page 10 of 13




                                               United States Bankruptcy Court
                                                           District of Nevada
 In re   RS Land LLC                                                                             Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     July 13, 2023                                  /s/ Fredrick Waid
                                                         Fredrick Waid/Manager
                                                         Signer/Title
    Case 23-12854-abl   Doc 1   Entered 07/13/23 21:26:59   Page 11 of 13



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                  RS Land LLC
                  1775 Village Center Circle Suite 110
                  Las Vegas, NV 89134

                  Brett A. Axelrod
                  Fox Rothschild LLP
                  1980 Festival Plaza Drive, Suite 700
                  Las Vegas, NV 89135

                  Christopher Miles
                  Husch Blackwell LLP
                  4801 Main Street, Suite 1000
                  Kansas City, MO 64112

                  Clark County Assessor
                  c/o Bankruptcy Clerk
                  500 S. Grand Central Pkwy.
                  Box 551401
                  Las Vegas, NV 89155-1401

                  Clark County Treasurer
                  c/o Bankruptcy Clerk
                  500 S. Grand Central Pkwy.
                  Box 551220
                  Las Vegas, NV 89155-1220

                  Dept. of Employment, Training & Rehab
                  Employment Security Division
                  500 East Third Street
                  Carson City, NV 89713

                  Internal Revenue Service
                  P.O. Box 7346
                  Philadelphia, PA 19101-7346

                  Nevada Department of Taxation
                  Bankruptcy Section
                  555 E. Washington Ave., #1300
                  Las Vegas, NV 89101

                  Pima Center Holdco LLC
                  c/o Benjamine Reeves, Esq.
                  Snell & Wilmer LLP
                  One East Washington Street, Suite 2700
                  Phoenix, AZ 85004-2556

                  Rayford International, Inc.
                  Changqing Liu
                  Chief Executive Officer and Director
                  7359 Las Palmas Way
                  Dublin, CA 94568
Case 23-12854-abl   Doc 1   Entered 07/13/23 21:26:59   Page 12 of 13




              Rayford International, Inc.
              c/o Changquing Liu
              155 N. Lake Ave., Suite 800
              Pasadena, CA 91101

              United States Trustee
              300 Las Vegas Blvd. South #4300
              Las Vegas, NV 89101
                  Case 23-12854-abl                  Doc 1   Entered 07/13/23 21:26:59         Page 13 of 13

Name, Address, Telephone No. & I.D. No.
Brett A. Axelrod 5859
1980 Festival Plaza Drive, Suite 700
Las Vegas, NV 89135
(702) 262-6899
5859 NV

               UNITED STATES BANKRUPTCY COURT
                                District of Nevada


In Re
RS Land LLC
                                                                              BANKRUPTCY NO.
                                                                              CHAPTER NO. 11
                                                                  Debtor(s)


                                    DECLARATION RE: ELECTRONIC FILING OF PETITION
                                     SCHEDULES, STATEMENTS AND PLAN (if applicable)
PART I - DECLARATION OF PETITIONER
         I [We] Fredrick Waid and                           , the undersigned debtor(s) hereby declare under penalty of perjury
that the information I have given my attorney and the information provided in the electronically filed petition, statements,
schedules, amendments and plan (if applicable) as indicated above is true and correct. I consent to my attorney filing my
petition, this declaration, statements, schedules and plan (if applicable) as indicated above to the United States
Bankruptcy Court. I understand that this DECLARATION RE: ELECTRONIC FILING is to be filed with the Clerk once all
schedules have been filed electronically but, in no event, no later than 15 days following the date the petition was
electronically filed. I understand that failure to file the signed original of this DECLARATION will cause my case to be
dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice.
                  If petitioner is an individual whose debts are primarily consumer debts and has chosen to file under
                   chapter 7 or 13. I am aware that I may proceed under chapter 7, 11, 12, or 13 of 11 United States Code,
                   understand the relief available under each such chapter, and choose to proceed under chapter 7 or 13. I
                   request relief in accordance with the chapter specified in this petition.
                  [If petitioner is a corporation or partnership] I declare under penalty of perjury that the information
                   provided in this petition is true and correct, and that I have been authorized to file this petition on behalf of
                   the debtor. The debtor requests relief in accordance with the chapter specified in this petition.
Dated:    July 13, 2023
                            Signed:       /s/ Fredrick Waid
                                          Fredrick Waid/Manager
                                              (Applicant)
PART II - DECLARATION OF ATTORNEY
        I, the attorney for the petitioner named in the foregoing petition, declare that, I have informed the petitioner that
[he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each such chapter.
Dated:    July 13, 2023

                            Signed:       /s/ Brett A. Axelrod
                                          Brett A. Axelrod 5859
                                            Attorney for Debtor(s)
